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                    EXHIBIT A
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                      PLAN OF ALLOCATION AND DISTRIBUTION OF
                      THE AUTOMOTIVE PARTS SETTLEMENT FUNDS

          The Net Settlement Funds, i.e., the total Settlement Funds, less all taxes, class notice and

   claim administration expenses and attorney’s fees and costs awarded by the Court to Class

   Counsel, will be distributed to qualifying claimants who are members of one or more of the

   Automotive Parts Settlement Classes and who submit timely and valid Claim Forms and whose

   Claims are allowed by the Court (“Authorized Claimants”). The distribution will take place after

   the following: (1) final approval of settlements by the Court and/or final judgment in each

   Automotive Parts case and the expiration of any period for further review or appeal of the

   Court’s orders of approval and/or final judgments or the resolution of any such review or appeal;

   (2) receipt of Claim Forms by the Claims Administrator; (3) review of the Claim Forms by the

   Claims Administrator and the determination of the amounts recommended to be paid to

   Authorized Claimants; and (4) approval by the Court of the Claims Administrator’s

   recommendations as to the amounts to be paid to Authorized Claimants.

          Distribution of the Net Settlement Funds will be based on Authorized Claimants’ indirect

   purchase of Automotive Parts manufactured by the respective Settling Defendants and their

   alleged co-conspirators (as defined and listed below) contained in any new four-wheeled

   passenger automobile, light truck, pickup truck, crossover, van, mini-van, or sport utility vehicle

   (the “Vehicles”) purchased or leased (not for resale) during Class Periods applicable to the

   Settlements relating to such Automotive Parts and the indirect purchase (not for resale) of any

   replacement Automotive Parts. Only those Settlement Class Members who purchased or leased

   a new Vehicle or purchased a replacement part while residing or, as to businesses, where the

   principal place of business was located, in the states listed below will be entitled to share in the

   Net Settlement Funds. If you indirectly purchased Automotive Parts in years other than those

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   included in the Class Periods applicable to the settlements relating to those Automotive Parts,

   you will not be entitled to recover with respect to those purchases. If you did not indirectly

   purchase, or purchased for resale, any Automotive Parts during the applicable time periods or in

   any of the states listed below you will not be entitled to share in any of the Net Settlement Funds.

          Persons or entities who purchased or leased a new Vehicle or purchased a replacement

   Automotive Part at any time during the applicable Class Periods can submit a claim providing

   the following information in their Claim Forms:

          1. The make, model, model year, and VIN number of the new Vehicle you purchased or

              leased.

          2. The date you purchased or leased the new Vehicle.

          3. The state in which you resided or, for businesses, where the principal place of

              business was located at the time you purchased or leased the new Vehicle.

          4. If you indirectly purchased any replacement Automotive Parts, you must specify the

              type of Automotive Part you purchased, the date of purchase, and the state in which

              you resided, or for businesses, where the principal place of business was located, at

              the time of purchase.

          Please note you may also be required to provide documentary proof of or additional

   information regarding your purchase or lease of a qualifying new Vehicle or replacement part.

          The Claims Administrator will use the information you provide in your Claim Form

   regarding the Vehicle you purchased or leased to determine whether your Vehicle contains one

   or more of the Automotive Parts. Information about which Vehicles contain the Automotive

   Parts that are the subject of the Settlements is available for review at the Automotive Parts

   Antitrust Litigation website, which may be found at www.autopartsclass.com. That information



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   may be supplemented from time to time and will also be available for review at the Automotive

   Parts Antitrust Litigation website.   You should consult that website for information about

   whether your purchase or lease of a new Vehicle, or purchase of a replacement Automotive Part,

   qualifies you to share in one or more of the Net Settlement Funds.

          Authorized Claimants will share and share alike on a pro rata basis in the Net Settlement

   Funds established for each Settlement Class of which they are members based on their Allowed

   Claim Amounts. Under the Plan of Allocation, each Authorized Claimant shall be paid the

   percentage of the Net Settlement Fund established with respect to a particular Settlement Class

   that each Authorized Claimant’s Allowed Claim Amount bears to the total of the Allowed Claim

   Amounts of all Authorized Claimants with respect to the same Settlement Class. The Allowed

   Claim Amount for a particular Automotive Part based on the purchase or lease of a new Vehicle

   that contains the Automotive Part in question will be calculated based on the number of such

   Vehicles that you purchased or leased. The Allowed Claim Amount for a particular replacement

   Automotive Part will similarly be based on the number of such parts that you purchased.

          For purposes of this Plan of Allocation, Allowed Claim Amounts for each Authorized

   Claimant will be determined separately for each Automotive Part. With respect to the specific

   Vehicles containing Automotive Parts which were targeted by the collusive conduct of

   Defendants, the per vehicle Allowed Claim Amounts for the purchase or lease of such Vehicle

   makes, models and years will be weighted at four times the Allowed Claim Amount for other

   Vehicles. This weighting is based on information obtained by Class Counsel during discovery as

   well as the cooperation provided by the Settling Defendants.         Although all persons who

   purchased or leased new Vehicles not for resale were affected by the conspiracy and are




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   therefore members of one or more classes, some class members were more affected than others,

   which is reflected in this weighting.

          Please note that submission of a Claim Form does not necessarily assure the right to

   payment out of the Net Settlement Funds. The Court may deny, in whole or in part, any claim if

   it determines that the claimant is excluded from the definition of the Settlement Classes or if

   there are legal or equitable grounds for the rejection of such claim.

          Payment pursuant to the Plan of Allocation shall be conclusive against all Authorized

   Claimants. No person shall have any claim against Class Counsel, the Settling Parties, or the

   Claims Administrator or any other person designated by Class Counsel based on distributions

   made substantially in accordance with the Plan of Allocation, or further orders of the Court.

          All Class Members who fail to complete and submit a valid and timely Claim Form shall

   be barred from participating in distributions from the Net Settlement Funds (unless otherwise

   ordered by the Court), but otherwise shall be bound by all of the terms of the settlements,

   including the terms of the judgments entered and the releases given pursuant to the settlements.

   However, no deadline has yet been set by the Court for the submission of Claim Forms. You

   should check the Automobile Parts Antitrust Litigation website for updated information

   regarding the submission of Claim Forms. Please note that the Court may modify the Plan of

   Allocation without further notice to the classes. Any such modifications will be described in

   subsequent postings on the Automotive Parts Antitrust Litigation website.




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